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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: ETHICON, INC.
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2327
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                    INACTIVE DOCKET ORDER

       The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and Ethicon, Inc..1 ("Ethicon") have agreed to a settlement model with regard to

Ethicon. The Court, therefore, finds it unnecessary to conduct further proceedings or to keep

these cases on the active docket. Accordingly, the Court ORDERS as follows:

       1.        All discovery deadlines are continued until further order of the Court.

       2.        That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

       3.        Plaintiffs and Ethicon may submit an agreed order of dismissal with prejudice on

or before October 31, 2017; if settlements are not finalized and dismissal orders are not

submitted by October 31, 2017, then the Court will have a hearing to determine the appropriate

action pertaining to any remaining cases on the inactive docket.

       Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed


       1
        As used herein, “Ethicon” refers collectively to Johnson & Johnson, Ethicon LLC, Ethicon, Inc. as well as
       any of its former or present parent companies, subsidiaries, affiliated companies, directors, officers, design
       surgeons, employees, distributors, detail representatives named in an action pending in MDL No. 2327
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to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

         The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2327 and in the

individual cases listed on the attached Exhibit A. The Clerk is further DIRECTED to link this

                                                              4423
Order to the Proposed Inactive Docket order filed at ECF NO.__________, and send a copy of

this Order to counsel of record and any unrepresented party.


                                                      Respectfully submitted,



                                                      _s/ Christy D. Jones____________
                                                      Christy D. Jones
                                                      BUTLER SNOW LLP
                                                      P.O. Box 6010
                                                      Ridgeland, MS 39158
                                                      601-948-5711
                                                      christy.jones@butlersnow.com


                                                      Counsel for Defendants


APPROVED:

Dated:
                                                       Honorable Joseph R. Goodwin
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                          MOTLEY RICE EXHIBIT A

   Civil Action                                                  Plaintiff First
                               Plaintiff Last Name
     Number                                                           Name
  2:14-cv-20139                    LaRocque                           Elaine
  2:16-cv-03501                   Larsen-Davis                       Monica
  2:15-CV-01522                       Larson                          Patsy
  2:12-cv-02136                         Lary                          Sheryl
  2:12-cv-09351                      Lashley                         Mishka
  2:15-cv-16587                       Lastor                            Luz
  2:15-cv-03532                      Lavigne                         Patricia
  2:14-cv-09720                     Lawrence                     Barbara Jean
  2:13-cv-10243                      Lawson                         Carey L.
  2:14-cv-29142                      Lawson                         Elizabeth
  2:13-cv-28143                       Leavitt                       Dorothy
  2:16-CV-03306                         Lee                         Elizabeth
  2:13-cv-21945                       Legeer                       Pamela J.
  2:13-cv-07195                 Lehew-Krogsund                        Nancy
  2:13-cv-32033                     LeMaster                          Debra
  2:14-cv-14536                    Lemerand                        Patricia A.
  2:14-cv-13103                        Lense                       Angela M.
  2:14-cv-26997                        Leon                             Dai
  2:12-cv-01097                        Leon                             Joy
  2:13-cv-21437                       Leone                           Elga L.
  2:13-cv-18855                         Leri                         Barbara
  2:15-CV-03654                        Leslie                         Betty
  2:13-cv-05632                       Lester                          Nancy
  2:13-cv-33441                   Lestourgeon                      Autum E.
  2:13-cv-16631                      LeSueur                       Debra Ann
  2:15-CV-05404                     Levesque                       Elizabeth
  2:12-cv-02139                        Lewis                        Marlene
  2:12-cv-05026                        Lewis                      Sharon Gail
  2:16-cv-08137                       Leyder                          Cindy
  2:13-cv-26415                    Liddington                      Bernadine
  2:13-cv-28435                      Lindsay                        Christine
  2:13-cv-13249                         Linn                          Lisa R.
  2:14-cv-09290                       Linton                         Lucinda
  2:14-cv-24060                    Lipscombe                      Michelle A.
  2:14-cv-03348                     Lizarraga                      Stephanie
  2:14-cv-13715                       Lleras                         Amelia
  2:12-cv-06430                        Lloyd                           Jane
  2:13-cv-14004                      Logsdon                        Sonja K.
  2:13-cv-23908                       Logue                           Dottie
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  2:14-cv-27946                        Lohr                            June
  2:15-cv-01666                    Lombardi                           Gayle
   2:12-cv-7913                    Lombera                          Nohemi
  2:15-cv-02040                        Long                           Leslie
  2:15-cv-09321                    Longhini                        Kathleen
  2:13-cv-00745                    Longway                          Michele
  2:13-cv-25418                       Lopez                         Delia M.
  2:14-cv-00036                       Lopez                        Phoebe L.
  2:14-cv-29601                       Lopez                          Blanca
  2:15-cv-11631                      Lorenz                           Stacy
  2:14-cv-22755                   Lorenzana                          Marian
  2:14-cv-12222                     Lorezca                           Luana
  2:13-cv-16634                        Lotz                      Barbara Jean
  2:13-cv-18974                       Louie                       Christine C.
  2:13-cv-22859                       Lowe                         Cynthia J.
  2:13-cv-01735                      Lowell                         Penny L.
  2:14-CV-16416                     Lowery                          Lauralee
  2:15-cv-08634                     Lubben                          Susan A.
  2:13-cv-27610                       Lucas                           Dana
  2:13-cv-29757                       Lucas                         Karen J.
  2:13-cv-25104                        Luce                         Tamisha
  2:13-cv-05040                      Lucido                     Susan Michelle
  2:13-cv-04960                     Ludeker                        Madeline
  2:13-cv-25419                       Lujan                         Vivian E.
  2:15-cv-16440                    Lumbert                            Emily
  2:15-cv-13391                    Lumpkin                            Carol
  2:14-cv-14214                    Lundgren                        Shirley R.
  2:16-cv-02192                      Lupton                          Norma
  2:13-cv-26815                  Lutenbacher                          Dorris
  2:14-cv-07624                      Luther                           Mary
  2:13-CV-26414                        Lutz                          Minnie
  2:12-cv-04832                       Lynch                        Margaret
  2:12-cv-02689                     Lyszcarz                        Karen A.
  2:13-cv-30173                       Maas                           Thelma
  2:12-cv-09819                 MacDonald-Lyons                       Kellie
  2:14-CV-16299                     Mackay                         Lorelei G.
  2:13-cv-04750                      Macon                           Mary J.
  2:12-cv-02028                     Maddox                           Brenda
  2:15-cv-05339                       Maes                              Kay
  2:15-cv-04713                    Magestro                          Sally A.
  2:16-cv-02143                    Magnani                         Erin Lynn
  2:13-cv-33000                      Mahan                      Tabitha Luann
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  2:12-cv-01523                     Majors                          Jennifer
  2:13-cv-31851                      Maker                           Angelic
  2:14-cv-23241                      Malik                           Sharon
  2:14-CV-19795                     Malone                          Deborah
  2:14-cv-21310                    Maltacea                           Maria
  2:13-cv-01786                     Mamou                          Stephanie
  2:15-cv-16352                    Mandolfi                             Lori
  2:12-cv-02705                     Manfre                            Claire
  2:15-cv-15289                     Mangan                           Brenda
  2:13-cv-23651                      Manis                            Susan
  2:13-cv-13475                      Mann                             Susan
  2:14-cv-12412                      Mann                         Marcia Dee
  2:15-cv-03538                     Manning                          Virginia
  2:12-cv-09682                     Manning                           Melva
  2:13-cv-02732                     Mannix                        Tracey Lynn
  2:13-cv-30271                     Manno                            Mary L.
  2:14-cv-13150                     Mansel                           Patricia
  2:13-cv-23912                    Mansfield                        Sharlene
  2:13-cv-15290                    Mantovani                    Vanessa LuRay
  2:14-CV-28996                    Mantranga                        Kathryn
  2:16-CV-06452                    Manzano                          Felicitas
  2:13-cv-01506                    Marcantal                    Melinda Renee
  2:15-cv-02532                      March                            Mary
  2:14-cv-11669                    Marchese                         Emily A.
  2:13-cv-06207                     Marcum                      Shannon Marie
  2:15-cv-00937                     Marholz                          Cynthia
  2:15-cv-06927                    Markham                            Paula
  2:13-cv-14274                    Markham                         Kelly Ann
  2:12-cv-06372                     Markley                       Patricia Ann
  2:14-cv-07667                      Marks                           Sherry
  2:13-cv-22447                     Marlow                            Misty
  2:15-cv-00543                     Marshall                        Sheila J.
  2:13-cv-02479                     Marshall                        Linda G.
  2:12-cv-03132                     Marski                         Karen M.
  2:13-cv-01466                    Martellaro                      Mary Ann
  2:12-cv-03122                     Martello                        Kimberly
  2:12-cv-05394                     Martin                          Darlene
  2:14-cv-11413                     Martin                           Brenda
  2:13-cv-24427                     Martin                             Joan
  2:13-cv-13580                     Martin                       Jacqueline K.
  2:13-cv-18148                     Martin                          Kayleen
  2:14-cv-03934                     Martin                         Melissa A.
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  2:14-cv-13152                     Martin                            Rosa
  2:13-cv-12625                     Martin                         Sherry L.
  2:13-cv-29140                     Martin                         Mary H.
  2:12-cv-02185                     Martin                          Patricia
  2:12-cv-05334                     Martin                          Kirsten
  2:15-cv-12438                     Martin                        Gail Francis
  2:14-cv-12459                     Martin                      Deborah Lynn
  2:15-cv-13693                     Martin                      Isabel Cristina
  2:12-cv-05028                     Martin                      Mary Elizabeth
  2:14-cv-14471                    Martinez                        Bianca S.
  2:13-cv-32104                    Martinez                         Irma L.
  2:13-cv-23914                    Martinez                         Norma
  2:13-cv-23915                    Martinez                         Valerie
  2:12-cv-09680                    Martinez                        Elizabeth
  2:13-cv-32040                  Martinez-cons                       Linda
  2:12-cv-09342                    Martino                           Carole
  2:13-cv-07499                     Martz                         Mary Ellen
  2:12-cv-07555                      Masi                         Lorraine S.
  2:12-cv-03303                   Massengill                        Melissa
  2:15-CV-03301                    Massey                            Janice
  2:13-cv-02942                    Matchett                         Rhonda
  2:13-cv-01087                    Mather                             Julie
  2:12-cv-07929                    Matovich                       Virginia K.
  2:12-cv-02478                   Matthews                          Donna
  2:13-cv-19943                   Matthews                           Joann
  2:13-cv-04241                    Mattice                         Valerie L.
  2:13-cv-12603                    Matziaris                        Carol A.
  2:14-cv-14331                    Maurer                         Lourdes S.
  2:14-cv-21756                      May                          Annie Bell
  2:13-cv-11549                    Mayfield                         Tiffany
  2:13-cv-33001                    Maynard                            Vicky
  2:13-cv-11192                     Mazur                            Judith
  2:16-cv-04304                    McArdle                       Robin Aileen
  2:13-cv-10320                    McAtee                            Peggy
  2:15-cv-12520                     McCall                         Euyvone
  2:13-cv-25761                    McCarty                          Kristina
  2:13-cv-12938                    McCarty                          Dianna
   2:13-cv-4012                  McClanahan                        Sue Ann
  2:13-cv-24611                   McCollum                          Barbara
  2:13-cv-23917                    McCord                           Sharon
  2:13-cv-26057                   McCormack                        Elizabeth
  2:13-cv-10186                    McCown                          Amanda
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   2:14-cv-09425                      McCoy                             Emma
   2:13-cv-06035                      McCoy                         Ruth Isabelle
   2:15-cv-09498                     McCreary                      Peggy June (PJ)
   2:13-cv-15740                      Mccune                          Teresa L.
   2:15-cv-15290                     McCuskey                           Lori S.
   2:15-cv-16121                     McDaniel                        Ginger Ann
   2:15-CV-01506                     McDonald                         Charlene
   2:14-CV-10934                     McDonald                         Deborah
   2:13-cv-28148                     McDonald                         Elizabeth
   2:13-cv-09317                    Mcdonough                           Sandra
   2:16-cv-02761                    McDougald                          Johnnie
   2:13-cv-09538                     McDowell                        Rebecca A.
   2:14-cv-13933                     McEntire                         Elizabeth
   2:15-cv-12413                     McGeorge                        Mary Ann
   2:13-cv-05818                      McGhee                             Rita
   2:12-cv-09081                     McGowan                             Ruby
   2:15-cv-11246                     McGowan                            Susan
   2:13-cv-16336                      McGuire                         Amanda
   2:13-cv-14720                      McHugh                          Jennifer
   2:14-cv-28910                       Mckay                         Manuela J.
    2:12-cv-5766                      McKee                            Patricia
   2:13-cv-22356                     McKinney                         Deborah
   2:14-CV-11167                    McLaughlin                         Kelly A.
   2:15-cv-02119                     McMillan                         Marjorie
   2:12-cv-09755                     McMillen                          Brandy
   2:14-cv-14301                      McNeill                           Judith
   2:14-cv-05321                     McQueen                          Jeanette
   2:12-cv-09749      McQuilliam, Executor of the Estate of Fern         John
                                     McQuillam
   2:13-cv-22423                    McReynolds                        Clarinell
   2:15-cv-15911                    McWhinney                          Lorrie
   2:15-cv-09563              McWhorter (JOHNSTON)                    MONICA
   2:13-cv-23918                      Meade                            Dana
   2:13-cv-29142                      Medlock                         Claudia
   2:13-cv-18073                       Meeks                         Carolyn P.
    2:15-cv-8761                       Meeks                          Kathryn


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